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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            23-Cr-490 (SHS)

                  -v-                                                ORDER

ROBERT MENENDEZ, ET AL.

                                    Defendant.

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SIDNEY H. STEIN, U.S. District Judge.

         This Order does not pertain to ex parte applications.

       If any party believes a document must be filed under seal, that party is directed to email
the document to SteinNYSDChambers@nysd.uscourts.gov. The Court will then file the
document under seal.

        The party making the submission is directed to promptly discuss with counsel for the other
parties whether the document may be publicly filed, with or without redactions Within five days
of submitting the document to the Court, the party is directed to ( 1) file the document or the
redacted document on the public record, should there be agreement among the parties to do so,
and (2) set forth the basis in a letter emailed to the Court at the above address for filing under seal
the document or portions of the document that have been redacted from the public record. See
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006).

        It is presumed that material that pertains to grand jury proceedings, involves an ongoing
investigation by the government, or that must be redacted pursuant to Section 21 of the SDNY
ECF rules or Fed. R. Cr. P. 49.1 may be redacted.

Dated: New York, New York
       January 30, 2024

                                                     SO ORDERED:
